         Case 8-22-73037-ast               Doc 9        Filed 11/02/22           Entered 11/02/22 09:50:02




THE UNITED STATES BANKRUPTCY COURT EASTERN
DISTRICT OF NEW YORK
 -----------------------------------------------------------x
 In re: Joel Lynn Carlin aka Joel L. Carlin                                                      Case No 22-73037-ast
Susan Diane Carlin aka Susan D. Carlin                                                           Chapter 7
 -----------------------------------------------------------x
                               NOTICE OF RESET SECTION 341 MEETING OF CREDITORS

           YOU ARE HEREBY NOTIFIED that the initial section 341 meeting of creditors for the above-captioned
 case, scheduled as an in-person 341 meeting for D e c e m b e r 8 , 2 0 2 2 ,     at 9 a.m. will now be reset as a telephonic
 meeting and conducted by telephone conference on December 8, 2022 at 9 a.m. (the "Designated Meeting Time").
           All parties shall appear by phone at the section 341 in accordance with the instructions below.
           Call-in Information:
           On the date and time set forth above, parties shall dial-in to the meeting using the following dialing instructions:
                    Meeting Dial-in No: 1- 877 913 6277                          , and
                         when prompted enter the Participant Code: 1655017 followed by #.
          To avoid confusion or technical difficulties, attendees are instructed to call in at the Designated Meeting Time,
 not before that time, and to disconnect the call after their meeting is concluded. Thank you for you anticipated
 cooperation in this regard.
           Instructions for Testifying Debtors and Counsel
          No later than one day prior to the Designated Meeting time, the debtor and/or their counsel are required to email
 the trustees with an imaged copy of the debtor's photo identification and proof of the debtor's social security number
 ("Identification Documents") A copy of the Debtor's identification and proof of social security number must be provided
 to the trustee via a secure method, i.e., portal, encrypted email, etc. Identification Documents shall be those documents
 deemed acceptable in accordance with current applicable procedures.
          Telephonic appearances shall be conducted in accordance with current applicable procedures for telephonic
 meetings. Accordingly, a Declaration Regarding Administration of Oath and Confirmation of Identity and Social
 Security Number form shall be completed by the individual performing this function and transmitted to the trustee
 immediately following the meeting.
          Alternatively, if compliance with the procedures set forth above are not possible or practical under these
 emergent circumstances, the debtor's attorney may submit prior to the time of the scheduled meeting a declaration
 confirming that: (1) the attorney met with the debtor in-person; and (2) the attorney examined and verified the debtor's
 original identification documents and social security number. In such situations, upon notification by the debtor and/or
 their counsel that they are using the alternate procedures, the trustee will administer the oath telephonically at the
 commencement of the 341 meeting.


 Date: November 2, 2022                           Chapter 7trustee
                                                 /s/ Richard L. Stern
                                                 Richard L. Stern, PLLC
                                                 38 New Street
                                                 Huntington, NY 11743
